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               IN THE UNITED STATES DISTRICT COURT FOR THE

                          DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                  4:02CR3049
                              )
          v.                  )
                              )
MAURICE BERRY,                )                      ORDER
                              )
               Defendants.    )
______________________________)


           IT IS ORDERED that the hearing on plaintiff’s Rule

35(b) motion (Filing No. 86) is rescheduled in OMAHA for:

                Thursday, October 13, 2005, at 11:30 a.m.

in Courtroom No. 5, Roman L. Hruska United States Courthouse, 111

South 18th Plaza, Omaha, Nebraska.       Defendant need not be

present.

           DATED this 23rd day of September, 2005.

                                   BY THE COURT:

                                   /s/ Lyle E. Strom
                                   _________________________________
                                      LYLE E. STROM, Senior Judge
                                      United States District Court
